            2:20-cv-02083-SLD # 11-2                        Page 1 of 2                                                                      E-FILED
                                                                                                       Friday, 12 June, 2020 12:40:20 PM
                                                                                                            Clerk, U.S. District Court, ILCD

                                 NOTICE OF LAWSUIT AND REQUEST FOR
                                        WAIVER OF SUMMONS

     Diane Wallace
TO: _____________________________________________________________________________
                                  (Defendant’s name)

         $ODZVXLWKDVEHHQFRPPHQFHGDJDLQVW\RX$FRS\RIWKHFRPSODLQWLVDWWDFKHGWRWKLVQRWLFH
,WKDVEHHQILOHGLQWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH&HQWUDO'LVWULFWRI,OOLQRLV8QLWHG6WDWHV&RXUW
KRXVHDQGKDVEHHQDVVLJQHGGRFNHWQXPEHU
        131 E. 4th St., Davenport, IA 52801
20-2083
BBBBBBBBBBBBBBBBBBBBBBB

          7KLVLVQRWDIRUPDOVXPPRQVEXWUDWKHUDUHTXHVWWKDW\RXVLJQDQGUHWXUQWKHHQFORVHGZDLYHU
RIVHUYLFHLQRUGHUWRVDYHWKHFRVWRIVHUYLQJ\RXZLWKDFRXUWVXPPRQVDQGDQDGGLWLRQDOFRS\RIWKH
FRPSODLQW7KHFRVWRIVHUYLFHZLOOEHDYRLGHGLIWKHFRXUWUHFHLYHVDVLJQHGFRS\RIWKHZDLYHU
ZLWKLQWKLUW\  GD\VDIWHUWKHGDWHGHVLJQDWHGEHORZDVWKHGDWHRQZKLFKWKLV1RWLFH
LVVHQW$QH[WUDFRS\RIWKHZDLYHUDQGQRWLFHLVDOVRDWWDFKHGIRU\RXUUHFRUGV

         ,I\RXFRPSO\ZLWKWKLVUHTXHVWDQGUHWXUQWKHVLJQHGZDLYHULWZLOOEHILOHGE\WKHFRXUWDQGQR
VXPPRQVZLOOEHVHUYHGRQ\RX7KHFDVHZLOOWKHQSURFHHGDVLI\RXKDGEHHQVHUYHGRQWKHGDWHWKH
ZDLYHULVILOHG, H[FHSWWKDW\RXZLOOQRWEHREOLJDWHGWRDQVZHUWKHFRPSODLQWEHIRUHVL[W\  GD\VIURP
WKHGDWHGHVLJQDWHGEHORZDVWKHGDWHRQZKLFKWKLVQRWLFHLVVHQW

        ,I\RXGRQRWUHWXUQWKHVLJQHGZDLYHUZLWKLQWKHWLPHLQGLFDWHGWKHSODLQWLIIZLOOWDNH
DSSURSULDWHVWHSVWRHIIHFWIRUPDOVHUYLFHLQDPDQQHUDXWKRUL]HGE\WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH
DQGZLOOWKHQWRWKHH[WHQWDXWKRUL]HGE\WKRVH5XOHVDVNWKHFRXUWWRUHTXLUH\RXWRSD\WKHIXOOFRVWVRI
VXFKVHUYLFH,QWKDWFRQQHFWLRQSOHDVHUHDGWKHVWDWHPHQWFRQFHUQLQJWKHGXW\RISDUWLHVWRZDLYHWKH
VHUYLFHRIWKHVXPPRQVZKLFKLVVHWIRUWKDWWKHERWWRPRIWKHZDLYHUIRUP

         <RXVKRXOGPDNHFHUWDLQWKDWWKLVQRWLFHDQGZDLYHULVGHOLYHUHGWRZKRPHYHUZLOOUHSUHVHQW\RX
LQWKHUHIHUHQFHGOLWLJDWLRQ<RXVKRXOGDOVRQRWLI\WKDWSHUVRQWKDW\RXKDYHVLJQHGDQGUHWXUQHGWKH
ZDLYHUWRWKHFOHUNRIWKHFRXUW

          'DWHGBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                           6/12/2020

                                                        V6KLJ<DVXQDJD
                                                    &OHUN8QLWHG6WDWHV'LVWULFW&RXUW
                                                        &HQWUDO'LVWULFWRI,OOLQRLV

8QLWHG6WDWHV&RXUWKRXVH
131 E. 4th Street

Davenport, IA 52801
            2:20-cv-02083-SLD # 11-2                      Page 2 of 2
                                      WAIVER OF SERVICE OF SUMMONS


            ,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBDFNQRZOHGJHUHFHLSWRI\RXUUHTXHVW
               Diane Wallace
                                 '()(1'$171$0(


 IRUDZDLYHURIVHUYLFHRIVXPPRQVLQWKHFDVHRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                     Chambers v. Heuerman, et al.,
                                                   6KRUWYHUVLRQRIFDSWLRQDQGFDVHQXPEHU

20-2083
 BBBBBBBBBBBBBBBBBBBBBBLQWKH8QLWHG6WDWHV'LVWULFW&RXUW IRUWKH&HQWUDO'LVWULFWRI,OOLQRLV




            ,KDYHDOVRUHFHLYHGDFRS\RIWKHFRPSODLQWLQWKHFDVH

          ,DJUHHWRVDYHWKHFRVWRIVHUYLFHRIDVXPPRQVLQWKLVODZVXLWE\QRWUHTXLULQJVHUYLFHRI
 MXGLFLDOSURFHVVLQWKHPDQQHUSURYLGHGE\)HGHUDO5XOHRI&LYLO3URFHGXUH

         ,UHWDLQDOOGHIHQVHVRUREMHFWLRQVWRWKHODZVXLWRUWRWKHMXULVGLFWLRQRUYHQXHRIWKHFRXUWH[FHSW
 IRUREMHFWLRQVEDVHGRQDGHIHFWLQWKHVXPPRQVRULQWKHVHUYLFHRIWKHVXPPRQV

          ,XQGHUVWDQGWKDWDUHVSRQVHWRWKHFRPSODLQWVKRXOGEHILOHGE\PHRURQP\EHKDOIE\
 ZKRPHYHUUHSUHVHQWVPHLQWKHFDVHZLWKLQVL[W\  GD\VRIWKHGDWH BBBBBBBBBBBBBBBBBBBBBB
                                                                                  6/12/2020
 WKHQRWLFHDQGZDLYHUZHUHVHQWWRPHE\WKHFOHUNRIWKHGLVWULFWFRXUW

 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            '$7(                                      6,*1$785(




                                       'XW\WR$YRLG8QQHFHVVDU\&RVWVRI6HUYLFHRI6XPPRQV
          )HGHUDO5XOHRI&LYLO3URFHGXUHUHTXLUHVSDUWLHVWRFRRSHUDWHLQVDYLQJXQQHFHVVDU\FRVWVRIVHUYLFHRIWKHVXPPRQV
DQGFRPSODLQW$GHIHQGDQWORFDWHGLQWKH8QLWHG6WDWHVZKRDIWHUEHLQJQRWLILHGRIDFDVHDJDLQVWKLPDQGDVNHGWRZDLYH
VHUYLFHRIVXPPRQVIDLOVWRGRVRZLOOEHUHTXLUHGWREHDUWKHFRVWVRIVXFKVHUYLFHXQOHVVJRRGFDXVHLVVKRZQIRUIDLOXUHWRVLJQ
DQGUHWXUQWKHZDLYHURIVHUYLFH
          ,WLVQRWJRRGFDXVHIRUDIDLOXUHWRZDLYHVHUYLFHWKDWDSDUW\EHOLHYHVWKDWWKHFRPSODLQWLVXQIRXQGHGRUWKDWWKH
DFWLRQKDVEHHQEURXJKWLQDQLPSURSHUSODFHRULQDFRXUWWKDWODFNVMXULVGLFWLRQRYHUWKHVXEMHFWPDWWHURIWKHFDVHRUWKHSDUWLHV
$SDUW\ZKRZDLYHVVHUYLFHRIVXPPRQVUHWDLQVDOOGHIHQVHVDQGREMHFWLRQVWRWKHFDVHWKHMXULVGLFWLRQRIWKHFRXUWRUWKHSODFH
ZKHUHWKHFDVHKDVEHHQILOHG)LOLQJDZDLYHURIVHUYLFHJLYHVDGHIHQGDQWDGGLWLRQDOWLPHEH\RQGZKDWZRXOGEHDOORZHGLI
VXPPRQVZDVVHUYHGWRUHVSRQGWRWKHFRPSODLQW

         7KH3ULVRQHU&LYLO/LWLJDWLRQ5HIRUP$FW86&H J SURYLGHVWKDWDGHIHQGDQWLQDSULVRQHU¶VFLYLOULJKWV
FODLPFDQQRWEHGHIDXOWHGIRUIDLOXUHWRILOHDUHVSRQVLYHSOHDGLQJWRWKHFRPSODLQW
